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 Attorney for Defendant
 ______________________________________________________________________________

                              UNITED STATES DISTRICT COURT

                         DISTRICT OF UTAH, CENTRAL DIVISION



  SHANNON ARNSTEIN, et al.                          STIPULATED MOTION FOR
                                                   EXTENSION OF DEADLINE TO
                Plaintiff,                           RESPOND TO AMENDED
                                                          COMPLAINT
                        vs.

  SUNDANCE HOLDINGS GROUP,
  L.L.C.,                                             Civil No. 2:24-cv-00344-RJS
               Defendant.                             Judge Robert J. Shelby


        Plaintiffs and Defendant, by and through their undersigned counsel, respectfully file this

 stipulation for an extension of time for Defendant to respond to Plaintiffs’ Amended Complaint.

 Defendant recently retained new national counsel who will be actively involved in the litigation

 of this matter. To accommodate new counsel, Defendants agreed to extend the current deadline

 from July 5, 2024 to July 19, 2024.

        THEREFORE, IT IS HEREBY STIPULATED AND AGREED that Defendant’s

 deadline to respond to the Complaint shall be July 19, 2024.
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        DATED this 3rd day of July 2024,

                                               CAMERON RINGWOOD, LC
                                               By: /s/ Jordan K. Cameron
                                               Jordan K. Cameron
                                               Attorneys for Defendant

 So Stipulated:

 PETERS | SCOFIELD
 By: /s/ David W. Scofield
 David W. Scofield
 Attorneys for Plaintiffs




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